Case 3:08-cr-30016-NJR-PMF             Document 20        Filed 03/19/08      Page 1 of 1      Page ID
                                              #51



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
        VS.                                         )   CR NO. 08-30016-(03)-GPM-PMF
                                                    )
 HUGHES ENERGY, INC.                                )
                                                    )
                Defendant.                          )

                                               ORDER

 FRAZIER, Magistrate Judge:

        This matter is before the Court on the government’s motion to compel defendant Hughes Energy,

 Inc. to hire a lawyer (Doc. No. 16). That corporate defendant is, obviously, currently unrepresented.

        The government has cited Rule 43(b)(1) of the Federal Rules of Criminal Procedure in support

 of its request. That rule provides that a defendant need not appear at any proceeding if represented by

 counsel. Nothing in Rule 43, or any other rules of criminal procedure, permit or require the Court to

 command the relief requested by the government. Research has revealed no common law support for the

 government’s request as well. Even if the Court were to grant the government’s motion, there is no

 apparent way to enforce such an order. The government’s motion is DENIED.

        IT IS SO ORDERED.

        DATED: March 19, 2008.



                                                   s/Philip M. Frazier
                                                   PHILIP M. FRAZIER
                                                   UNITED STATES MAGISTRATE JUDGE
